              USDC IN/ND case 3:22-cv-00540-JD-MGG document 7 filed 07/13/22 page 1 ofCLOSED
                                                                                      2
                                      U.S. District Court
                           Southern District of Indiana (Indianapolis)
                     CIVIL DOCKET FOR CASE #: 1:22−cv−01327−JRS−DLP

BATISTE−WADDELL v. SOUTH BEND COMMUNITY SCHOOL                        Date Filed: 07/05/2022
CORPORTATION                                                          Date Terminated: 07/11/2022
Assigned to: Judge James R. Sweeney II                                Jury Demand: Plaintiff
Referred to: Magistrate Judge Doris L. Pryor                          Nature of Suit: 442 Civil Rights: Jobs
Cause: 42:2000e Job Discrimination (Employment)                       Jurisdiction: Federal Question

Discovery Deadline:                                                   Settlement Conference:
Dispositive Motion Deadline:                                          Final Pretrial Conference:
                                                                      Trial Date:
Plaintiff
TIANA BATISTE−WADDELL                                  represented by Deidra N Haynes
                                                                      The Law Office of Deidra N. Haynes LLC
                                                                      7007 Graham Road
                                                                      Ste 102
                                                                      Indianapolis, IN 46220
                                                                      317−982−7396
                                                                      Email: deidrahaynes@dnhlawllc.com
                                                                      ATTORNEY TO BE NOTICED


V.
Defendant
SOUTH BEND COMMUNITY SCHOOL                            represented by SOUTH BEND COMMUNITY SCHOOL
CORPORTATION                                                          CORPORTATION
                                                                      .
                                                                      PRO SE


 Date Filed      # Docket Text

 07/05/2022     Ï1   COMPLAINT against South Bend Community School Corp, filed by Tiana Batiste−Waddell. (Filing
                     fee $402, receipt number AINSDC−7175325) (Attachments: # 1 Proposed Summons, # 2 Civil
                     Cover Sheet)(Haynes, Deidra) (Entered: 07/05/2022)

 07/05/2022     Ï2   NOTICE of Appearance by Deidra N Haynes on behalf of Plaintiff Tiana Batiste−Waddell. (Haynes,
                     Deidra) (Entered: 07/05/2022)

 07/06/2022     Ï3   Summons Issued as to SOUTH BEND COMMUNITY SCHOOL CORPORTATION. (JSR)
                     (Entered: 07/06/2022)

 07/06/2022     Ï4   MAGISTRATE JUDGE's NOTICE of Availability to Exercise Jurisdiction issued. (JSR) (Entered:
                     07/06/2022)

 07/11/2022     Ï5   CLOSED TRANSFER/ORDER TRANSFERRING ACTION TO THE NORTHERN DISTRICT OF
                     INDIANA, SOUTH BEND DIVISION − Plaintiff Tiana Batiste−Waddell filed a complaint alleging
                     employment discrimination against Defendant South Bend Community School Corporation.
              USDCDefendant
                  IN/ND case     3:22-cv-00540-JD-MGG
                            is located                          document
                                       in South Bend, Indiana, which is in the7Northern
                                                                                 filed 07/13/22      page 2See
                                                                                        District of Indiana. of 2
                                                                                                                28
                     U.S.C. § 94. Accordingly, this action is transferred to the United States District Court for the
                     Northern District of Indiana, South Bend Division. Signed by Judge James R. Sweeney II on
                     7/11/2022.(JDC) (Entered: 07/12/2022)

 07/11/2022    Ï6    Transfer Letter to Clerk of the Northern District of Indiana/South Bend. Case transferred
                     electronically to Northern District of Indiana/South Bend, on 7/11/2022. (JDC) (Entered:
                     07/12/2022)

Case #: 1:22−cv−01327−JRS−DLP
